 Case 18-31185       Doc 192    Filed 05/15/19 Entered 05/15/19 16:33:46               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                       )               BK No.:    18-31185
Harlow N. Higinbotham,                       )
                                             )               Chapter: 11
                                             )
                                                             Honorable LaShonda Hunt
                                             )
                                             )
               Debtor(s)                     )
    Order Granting the Motion of Wipaporn Teekhungam and the Parties' Minor Children to
                                     Dismiss the Case

       This matter coming to be heard on the motion of Wipaporn Teekhungam, A.H., A.H., and A.H.
to dismiss the case(the "Motion"); due notice of the Motion having been provided; and the Court having
conducted a hearing on the Motion and being advised in the premises, IT IS HEREBY ORDERED
THAT:

   1. The above-captioned case is dismissed for reasons stated on the record.

   2. All other pending matters are hereby moot.




                                                          Enter:


                                                                   Honorable LaShonda A. Hunt
Dated: May 15, 2019                                                United States Bankruptcy Judge

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